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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

SOTHINATHAN SINNATHURAI,
Individually and on Behalf of All Others Civil Action No. TDC-21-2910
Similarly Situated,

Plaintiff,
v.

NOVAVAX, INC., STANLEY C. ERCK,

GREGORY F. COVINO, JOHN J. TRIZZINO,
and GREGORY M. GLENN,

Defendants.

ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION
SETTLEMENT, APPROVING FORM AND MANNER OF NOTICE, AND SETTING
DATE FOR HEARING ON FINAL APPROVAL OF SETTLEMENT

WHEREAS:

A. On January 12, 2024, Court-appointed Lead Plaintiffs Jeffrey A. Gabbert,
Nuggehalli Balmukund Nandkumar, and David Truong (“Lead Plaintiffs” or “Plaintiffs”), on
behalf of themselves and all other members of the Settlement Class (defined below), on the one
hand, and Novavax, Inc. (“Novavax” or the “Company”) and Stanley Erck, Gregory Covino, John
Trizzino, and Gregory Glenn (collectively, “Defendants” and, together with Lead Plaintiffs, the
“Parties’’), on the other, entered into a Stipulation and Agreement of Settlement (the “Stipulation”)
in the above-titled litigation (the “Action”), which is subject to review under Rule 23 of the Federal
Rules of Civil Procedure and which, together with the exhibits thereto, sets forth the terms and

conditions of the proposed settlement of the Action and the claims alleged in the Consolidated

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Amended Class Action Complaint for Violations of the Federal Securities Laws (the “Complaint”),

filed on March 11, 2022, on the merits and with prejudice (the “Settlement”);

B. The Court has reviewed and considered the Stipulation and the accompanying
exhibits;

C. The Parties to the Stipulation have consented to the entry of this order; and

D. All capitalized terms used in this order that are not otherwise defined herein have

the meanings defined in the Stipulation.
NOW, THEREFORE, IT IS HEREBY ORDERED, this 23” day of a :
2024 that:

1. The Court has reviewed the Stipulation and preliminarily finds, pursuant to Federal
Rule of Civil Procedure 23(e)(1), that the Court will likely be able to approve the proposed
Settlement as fair, reasonable, and adequate under Federal Rule of Civil Procedure 23(e)(2),
subject to further consideration at the Settlement Hearing described below.

2 Pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, the
Court preliminarily certifies, for purposes of the Settlement only, the Settlement Class of: all
persons or entities who or which, during the period from May 11, 2021 through October 19, 2021,
inclusive, purchased or otherwise acquired the publicly traded common stock of Novavax, Inc.
and were damaged thereby. Excluded from the Settlement Class are: (i) Defendants; (ii) members
of the Immediate Families of any Defendant who is an individual; (iii) any person who was an
officer or director of Novavax during the Class Period; (iv) any firm or entity in which any
Defendant has or had a controlling interest; (v) parents, affiliates, or subsidiaries of Novavax; (vi)
the Company’s employee retirement and benefit plan(s) and their participants or beneficiaries, to

the extent they made purchases through such plan(s): and (vii) the legal representatives, agents,

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heirs, beneficiaries, successors-in-interest, or assigns of any excluded person or entity, in their
respective capacity as such. Also excluded from the Settlement Class are those Persons who or
which timely and validly seek exclusion from the Settlement Class in accordance with the
requirements set forth below and in the Notice.

3. The Court finds and preliminarily concludes that the prerequisites of class action
certification under Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedures have been
satisfied for the Settlement Class defined herein and for the purposes of the Settlement only, in
that:

(a) the members of the Settlement Class are so numerous that joinder of all
Settlement Class Members is impracticable;

(b) there are questions of law and fact common to the Settlement Class
Members;

(c) the claims of Lead Plaintiffs are typical of the Settlement Class’s claims;

(d) Lead Plaintiffs and Co-Lead Counsel have fairly and adequately
represented and protected the interests of the Settlement Class;

(e) the questions of law and fact common to Settlement Class Members
predominate over any individual questions; and

(f) a class action is superior to other available methods for the fair and
efficient adjudication of the controversy, considering that the claims of Settlement Class
Members in the Action are substantially similar and would, if tried, involve substantially
identical proofs and may therefore be efficiently litigated and resolved on an aggregate basis as

a class action; the amounts of the claims of many of the Settlement Class Members are too small
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to justify the expense of individual actions; and it does not appear that there is significant interest
among Settlement Class Members in individually controlling the litigation of their claims.

4. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for purposes of
the Settlement only, Jeffrey A. Gabbert, Nuggehalli Balmukund Nandkumar, and David Truong
are preliminarily certified as Class Representatives for the Settlement Class. The law firms of
Labaton Keller Sucharow LLP and Pomerantz LLP are preliminarily appointed Class Counsel for
the Settlement Class, and Cohen Milstein Sellers & Toll PLLC as Liaison Counsel for the
Settlement Class.

S A hearing (the “Settlement Hearing”) pursuant to Rule 23(e) of the Federal Rules
of Civil Procedure is hereby scheduled to be held before the Court, either in person or remotely
at the Court’s discretion, at the United States District Court, District of Maryland, 6500
Cherrywood Lane, Greenbelt, MD 20770 on May 23, 2024, at 2:30 p.m. [a date approximately
120 days from entry of this order] for the following purposes:

(a) to determine whether the proposed Settlement is fair, reasonable and
adequate, and should be approved by the Court;

(b) to determine whether the proposed Final Order and Judgment
(“Judgment”) as provided under the Stipulation should be entered, and to determine whether the
release by the Settlement Class of the Released Plaintiffs’ Claims, as set forth in the Stipulation,
should be provided to the Released Defendant Parties;

(c) to determine, for purposes of the Settlement only, whether the Settlement
Class should be finally certified; whether Lead Plaintiffs should be finally certified as Class

Representatives for the Settlement Class; and whether the law firms of Labaton Keller Sucharow
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LLP and Pomerantz LLP should be finally appointed as Class Counsel and Cohen Milstein
Sellers & Toll PLLC as Liaison Counsel for the Settlement Class;

(d) to determine whether the proposed Plan of Allocation for the proceeds of
the Settlement is fair and reasonable and should be approved by the Court;

(e) to consider Co-Lead Counsel’s application for an award of attorneys’ fees
and Litigation Expenses (which may include an application for an award to Lead Plaintiffs for
reimbursement of their reasonable costs and expenses directly related to their representation of
the Settlement Class, pursuant to the Private Securities Litigation Reform Act of 1995
(“PSLRA”)); and

(f) to rule upon such other matters as the Court may deem appropriate.

6. The Court reserves the right to approve the Settlement with or without
modification and with or without further notice to the Settlement Class of any kind. The Court
further reserves the right to enter the Judgment approving the Settlement regardless of whether it
has approved the Plan of Allocation or awarded attorneys’ fees and/or expenses. The Court may
also adjourn the Settlement Hearing, decide to hold the hearing remotely, or modify any of the
dates herein without further individual notice to members of the Settlement Class. Any such
changes shall be posted on the website of the Claims Administrator.

hi The Court approves the form, substance and requirements of the Notice of
Pendency of Class Action, Proposed Settlement, and Motion for Attorneys’ Fees and Expenses
(the “Notice”), the Proof of Claim and Release form (“Claim Form”), the Summary Notice of
Pendency and Proposed Settlement of Class Action and Motion for Attorneys’ Fees and Expenses
(“Summary Notice”), and the Postcard Notice, substantially in the forms annexed hereto as

Exhibits | through 4, respectively, and finds they collectively: (a) constitute the best notice to

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Settlement Class Members practicable under the circumstances; (b) are reasonably calculated,
under the circumstances, to describe the terms and effect of the Settlement and to apprise
Settlement Class Members of their right to object to the proposed Settlement or to exclude
themselves from the Settlement Class; (c) are reasonable and constitute due, adequate, and
sufficient notice to all persons entitled to receive such notice; and (d) satisfy all applicable
requirements of the Federal Rules of Civil Procedure (including Rules 23(c)-(e)), the Due Process
Clause of the United States Constitution, Section 21D(a)(7) of the Securities Exchange Act of
1934, 15 U.S.C. § 78u-4(a)(7), as amended by the PSLRA, and the Rules of this Court.

8. The Court approves the retention of Strategic Claims Services as the Claims
Administrator. The Claims Administrator shall cause the Postcard Notice, substantially in the
form annexed hereto, to be mailed, by first-class mail, postage prepaid, on or before ten (10)
business days after entry of this Preliminary Approval Order (“Notice Date”), to all Settlement
Class Members who can be identified with reasonable effort. Novavax, to the extent it has not
already done so, shall use its best efforts to obtain and provide to Co-Lead Counsel, or the Claims
Administrator, at no cost to Co-Lead Counsel, the Settlement Class, or the Claims Administrator,
within seven (7) calendar days of entry of this Preliminary Approval Order, its transfer agent’s
lists of the names/addresses/emails of Novavax common stock purchasers of record during the
Class Period, in electronic searchable form, such as Excel, to the extent reasonably available. Co-
Lead Counsel, through the Claims Administrator, shall substantially complete such mailing no
later than sixty (60) calendar days after the Notice Date.

9. The Claims Administrator shall use reasonable efforts to provide notice of the
Settlement to nominees such as custodians, brokerage firms and other persons and entities that

purchased Novavax publicly traded common stock during the Class Period as record owners but
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not as beneficial owners. Such nominees SHALL EITHER: (a) WITHIN TEN (10) CALENDAR
DAYS of receipt of the Postcard Notice, provide a list of the names and addresses of all such
beneficial owners to the Claims Administrator and the Claims Administrator is ordered to send
the Postcard promptly to such identified beneficial owners; or (b) WITHIN TEN (10)
CALENDAR DAYS of receipt of the Postcard Notice, request from the Claims Administrator
sufficient copies of the Postcard Notice to forward to all such beneficial owners and WITHIN
TEN (10) CALENDAR DAYS of receipt of those Postcard Notices from the Claims
Administrator forward them to all such beneficial owners. Nominees shall also provide email
addresses for all such beneficial owners to the Claims Administrator, to the extent they are
available. Nominees who elect to send the Postcard Notice to their beneficial owners SHALL
ALSO send a statement to the Claims Administrator confirming that the mailing was made and
shall retain their mailing records for use in connection with any further notices that may be
provided in the Action. Nominees are not authorized to print the notices for dissemination.
Notices may only be printed for dissemination by the Claims Administrator. Upon FULL AND
TIMELY compliance with these directions, such nominees may seek reimbursement of their
reasonable out-of-pocket expenses incurred in providing notice to beneficial owners of up to:
$0.03 per Postcard Notice, plus postage at the current pre-sort rate used by the Claims
Administrator, for notices mailed by nominees; or $0.03 per mailing record provided to the Claims
Administrator, by providing the Claims Administrator with proper documentation supporting the
expenses for which reimbursement is sought. Such properly documented expenses incurred by
nominees in compliance with this order shall be paid from the Settlement Fund, and any disputes

regarding reimbursement of such expenses shall be subject to review by the Court.
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10. Co-Lead Counsel shall, at or before the Settlement Hearing, file with the Court
proof of mailing of the Postcard Notice.

11. The Court approves the form of the Summary Notice and directs that Co-Lead
Counsel shall cause the Summary Notice to be published in The Wall Street Journal and be
transmitted over PR Newswire within fourteen (14) calendar days of the Notice Date. Co-Lead
Counsel shall, at or before the Settlement Hearing, file with the Court proof of publication of the
Summary Notice.

12. The form and content of the notice program described herein, and the methods set
forth herein of notifying the Settlement Class of the Settlement and its terms and conditions, meet
the requirements of Rule 23 of the Federal Rules of Civil Procedure, Section 21D(a)(7) of the
Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7), as amended by the PSLRA, and due
process, constitute the best notice practicable under the circumstances, and shall constitute due
and sufficient notice to all persons and entities entitled thereto.

13. In order to be eligible to receive a distribution from the Net Settlement Fund, in
the event the Settlement is effected in accordance with the terms and conditions set forth in the
Stipulation, each claimant shall take the following actions and be subject to the following
conditions:

(a) A properly executed Claim Form, substantially in the form annexed hereto
as Exhibit 2, must be submitted to the Claims Administrator, at the address stated, postmarked
no later than five (5) calendar days before the Settlement Hearing. Such deadline may be further
extended by Court order or by Co-Lead Counsel in their discretion. Each Claim Form shall be
deemed to have been submitted when postmarked (if properly addressed and mailed by first-

class or overnight mail, postage prepaid). Any Claim Form submitted in any other manner shall
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be deemed to have been submitted when it was actually received at the address designated in the
Claim Form. Any Settlement Class Member who does not timely submit a Claim Form within
the time provided for shall be barred from sharing in the distribution of the Net Settlement Fund,
unless otherwise ordered by the Court or allowed by Co-Lead Counsel, but shall remain bound
by all determinations and judgments in this Action concerning the Settlement, as provided by
paragraph 15 of this order.

(b) The Claim Form submitted by each claimant must satisfy the following
conditions, unless otherwise allowed pursuant to the Stipulation: (i) it must be properly
completed, signed and submitted in a timely manner in accordance with the provisions of the
preceding subparagraph; (ii) it must be accompanied by adequate supporting documentation for
the transactions reported therein, in the form of broker confirmation slips, broker account
statements, an authorized statement from the broker containing the transactional information
found in a broker confirmation slip, or such other documentation as is deemed adequate by the
Claims Administrator and/or Co-Lead Counsel; (iii) if the person executing the Claim Form is
acting in a representative capacity, a certification of her current authority to act on behalf of the
claimant must be included in the Claim Form; and (iv) the Claim Form must be complete and
contain no material deletions or modifications of any of the printed matter contained therein and
must be signed under penalty of perjury. Claimants bear the burden of establishing their right to
a recovery from the Net Settlement Fund.

(c) As part of the Claim Form, each claimant shall submit to the jurisdiction

of the Court with respect to the claim submitted.

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14. Any Settlement Class Member may enter an appearance in this Action, at his, her
or its own expense, individually or through counsel of his, her or its own choice. If any Settlement
Class Member does not enter an appearance, he, she or it will be represented by Co-Lead Counsel.

15. Settlement Class Members shall be bound by all orders, determinations, and
judgments in this Action concerning the Settlement, whether favorable or unfavorable, unless
such Persons request exclusion from the Settlement Class in a timely and proper manner, as
hereinafter provided. A putative Settlement Class Member wishing to make such an exclusion
request shall mail the request in written form by first-class mail to the address designated in the
Notice for such exclusions, such that it is received no later than twenty-one (21) calendar days
prior to the Settlement Hearing. Such request for exclusion must state the name, address,
telephone number, and email address (if any) of the Person seeking exclusion, must state that the
sender requests to be “excluded from the Settlement Class in Sinnathurai v. Novavax, Inc., et al.,
8:21-cv-02910-TDC (D. Md.)” and must be signed by such Person. Such Persons requesting
exclusion are also directed to state the information requested in the Notice, including, but not
limited to: the date(s), price(s), and number(s) of shares for each purchase and sale (if any) of
Novavax, Inc. publicly traded common stock during the Class Period. Requests must be submitted
with documentary proof of purchases during the Class Period that demonstrates the requester’s
status as a beneficial owner of the shares. The request for exclusion shall not be effective unless
it provides the required information and is made within the time stated above, or the exclusion is
otherwise accepted by the Court.

16. Putative Settlement Class Members requesting exclusion from the Settlement

Class shall not be eligible to receive any payment out of the Net Settlement Fund.

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17. Any Settlement Class Member who does not request exclusion from the Settlement
Class may object to the proposed Settlement, the proposed Plan of Allocation, and/or Co-Lead
Counsel’s application for attorneys’ fees and expenses. Any objections must state (a) the name,
address, telephone number, and email address of the objector and must be signed by the objector;
(b) that the objector is objecting to the proposed Settlement, Plan of Allocation, or application for
attorneys’ fees and Litigation Expenses in “Sinnathurai v. Novavax, Inc., et al., 8:21-cv-02910-
TDC (D. Md.);” (c) the objection(s) and the specific reasons for each objection, including whether
it applies only to the objector, to a specific subset of the Settlement Class, or to the entire
Settlement Class, and any legal and evidentiary support, and witnesses, the Settlement Class
Member wishes to bring to the Court’s attention; and (d) include documents sufficient to prove
the objector’s membership in the Settlement Class, such as the date(s), price(s), and number(s) of
shares of Novavax Inc. publicly traded common stock purchased and sold (if any) during the Class
Period. Objectors who are represented by counsel must also provide the name, address and
telephone number of all counsel, if any, who represent them, including their former or current
counsel who may be entitled to compensation in connection with the objection; the number of
times the objector and their counsel have filed an objection to a class action settlement in the last
five years; the nature of each such objection in each case; and the name and docket number of
each case.

18. The Court will consider any Settlement Class Member’s objection to the
Settlement, the Plan of Allocation, and/or the application for an award of attorneys’ fees or
expenses only if such Settlement Class Member has served by hand or by mail his, her or its
written objection and supporting papers, such that they are received on or before twenty-one (21)

calendar days before the Settlement Hearing, upon Co-Lead Counsel: Michael H. Rogers, Labaton
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Keller Sucharow LLP, 140 Broadway, New York, NY 10005, Jeremey A. Lieberman, Pomerantz
LLP, 600 Third Avenue, 20th Floor, New York, NY 10016; and Defendants’ Counsel: C. Thomas
Brown, Ropes & Gray LLP, Prudential Tower, 800 Boylston Street, Boston, MA 02199, and has
filed, either by mail or in person, said objections and supporting papers with the Clerk of the
Court, United States District Court for the District of Maryland, United States Courthouse, 6500
Cherrywood Lane, Greenbelt, MD 20700. Any Settlement Class Member who does not make his,
her, or its objection in the manner provided for in the Notice shall be deemed to have waived such
objection and shall forever be foreclosed from making any objection, to any aspect of the
Settlement, to the Plan of Allocation, or to the request for attorneys’ fees and expenses, unless
otherwise ordered by the Court, but shall otherwise be bound by the Judgment to be entered and
the releases to be given. Attendance at the Settlement Hearing is not necessary, however, persons
wishing to be heard orally in opposition to the approval of the Settlement, the Plan of Allocation,
and/or the application for an award of attorneys’ fees and expenses are required to state in their
written objection their intention to appear at the hearing. Persons who intend to object to the
Settlement, the Plan of Allocation, and/or the application for an award of attorneys’ fees and
expenses and desire to present evidence at the Settlement Hearing must include in their written
objections the identity of any witnesses they may call to testify and exhibits they intend to
introduce into evidence at the Settlement Hearing.

19. Settlement Class Members do not need to appear at the hearing or take any other
action to state their approval.

20. Until otherwise ordered by the Court, the Court stays all proceedings in the Action,
other than proceedings necessary to carry out or enforce the terms and conditions of the

Settlement. Pending final determination of whether the Settlement should be approved, Lead
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Plaintiffs, all Settlement Class Members, and each of them, and anyone who acts or purports to
act on their behalf, shall not institute, commence or prosecute any action which asserts Released
Plaintiffs’ Claims against the Released Defendant Parties.

21. As provided in the Stipulation, Co-Lead Counsel may pay the Claims
Administrator the reasonable fees and costs associated with giving notice to the Settlement Class
and the review of claims and administration of the Settlement out of the Settlement Fund.

22. All papers in support of the Settlement, Plan of Allocation, and Co-Lead Counsel’s
request for an award of attorneys’ fees and expenses shall be filed with the Court and served on
or before forty-two (42) calendar days prior to the date set herein for the Settlement Hearing. If
reply papers are necessary, they are to be filed with the Court and served no later than fourteen
(14) calendar days prior to the Settlement Hearing.

23. | No person who is not a Settlement Class Member or Co-Lead Counsel shall have
any right to any portion of, or to any distribution of, the Net Settlement Fund unless otherwise
ordered by the Court or otherwise provided in the Stipulation.

24. All funds held in escrow shall be deemed and considered to be in custodia legis of
the Court, and shall remain subject to the jurisdiction of the Court until such time as such funds
shall be disbursed pursuant to the Stipulation and/or further order of the Court.

25. Neither Defendants nor their counsel shall have any responsibility for the Plan of
Allocation nor any application for attorney’s fees or Litigation Expenses submitted by Co-Lead
Counsel or Lead Plaintiffs.

26. If the Settlement fails to become effective as defined in the Stipulation or is
terminated, then both the Stipulation, including any amendment(s) thereof, except as expressly

provided in the Stipulation, and this Preliminary Approval Order shall be null and void, of no

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further force or effect, and without prejudice to any Party, and may not be introduced as evidence
or used in any actions or proceedings by any person or entity against the Parties, and the Parties
shall be deemed to have reverted to their respective litigation positions in the Action as of

November 30, 2023.

27. Neither this Order, the Term Sheet, the Stipulation (whether or not finally
approved or consummated), nor their negotiation, or any proceedings taken pursuant to them:
(a) shall be offered against any of the Released Defendant Parties as evidence of, or construed
as, or deemed to be evidence of any presumption, concession, or admission by any of the
Released Defendant Parties with respect to the truth of any fact alleged by Lead Plaintiffs, or
the validity of any claim that was or could have been asserted, or the deficiency of any defense
that has been or could have been asserted in this Action or in any litigation, or of any liability,
negligence, fault, or other wrongdoing of any kind by any of the Released Defendant Parties;
(b) shall be offered against any of the Released Plaintiff Parties as evidence of, or construed as,
or deemed to be evidence of, any presumption, concession, or admission with respect to any
liability, negligence, fault, or wrongdoing of any kind or in any way referred to for any other
reason as against any of the Released Plaintiff Parties in any civil, criminal, or administrative
action or proceeding, other than such proceedings as may be necessary to effectuate the
provisions of the Stipulation; provided, however, that if the Stipulation is approved by the Court,
the Released Parties and their respective counsel may refer to it to effectuate the protections
from liability granted hereunder or otherwise to enforce the terms of the Settlement; (c) shall be
construed against any of the Released Parties as an admission, concession, or presumption that
the consideration to be given represents the amount which could be or would have been

recovered after trial; and (d) shall be construed against the Released Plaintiff Parties that any of

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their claims are without merit, that any of Released Defendant Parties had meritorious defenses,
or that damages recoverable under the Complaint would not have exceeded the Settlement

Amount.

28. The Court retains exclusive jurisdiction over the Action to consider all further

matters arising out of or connected with the Settlement.

DATED this 23% dayof eum, _, 2024

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UNITED STATES DISTRI
